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                    EXHIBIT 5
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           12

           13                                   UNITED STATES DISTRICT COURT
           14                                NORTHERN DISTRICT OF CALIFORNIA
           15                                            SAN JOSE DIVISION
           16

           17    APPLE INC., a California corporation,
                                                                  CASE NO. 12-cv-00630-LHK
           18                          Plaintiff,
                                                                  REPLY EXPERT DECLARATION OF DR.
           19           v.                                        TODD C. MOWRY CONCERNING U.S.
                                                                  PATENT NO. 5,946,647
           20    SAMSUNG ELECTRONICS CO., LTD., a
                 Korean corporation; SAMSUNG
           21    ELECTRONICS AMERICA, INC., a New                 Hearing:
                 York corporation; and SAMSUNG                    Date:
           22    TELECOMMUNICATIONS AMERICA,                      Time:
                 LLC, a Delaware limited liability company,       Place:
           23                                                     Judge:
                                       Defendants.
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                 REPLY EXPERT DECLARATION OF DR .TODD C.
Gibson, Dunn &   MOWRY CONCERNING U.S. PATENT NO.
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            1                •   Perspective does not “link[] actions to the detected structures.” This is true even if
            2                    Perspective were found to “perform[] actions” within the meaning of claim 1, because
            3                    Perspective simply associates user profile information to a particular area of the
            4                    screen, as opposed to any particular “structure” that might appear on the screen.
            5                •   Perspective further does not disclose “link[ed] actions” because the events that Dr.
            6                    Cohen believes to be “actions” are merely gestures that a user must perform on
            7                    Perspective’s screen using a specially designed pen. Such gestures are not “actions”
            8                    within the meaning of the ’647 Patent.
            9                •   For similar reasons, Perspective does not disclose “a user interface enabling the
           10                    selection of a detected structure and a linked action” because simply performing a
           11                    gesture with a pen over a particular name displayed on Perspective’s screen does not
           12                    constitute “selection” of either a “structure” or an “action” within the meaning of the
           13                    ’647 Patent claims.
           14                    3.      Pandit
           15          25.       Pandit was also considered by both the ITC and the PTO during reexamination. The
           16    ITC found Pandit did not render claims 1 and 8 invalid, and both the ITC and PTO found that the
           17    inventors of the ’647 had conceived and reduced to practice the claimed invention before Pandit’s
           18    priority date. As explained below, I agree that Pandit does not render the ’647 patent invalid, and
           19    also is not prior art to the ’647 patent.
           20          26.       Pandit discloses a method and apparatus for recognizing text that has already been
           21    marked by a user, associating that text with a predetermined “class”, and performing an “operation”
           22    based on that class identification. Pandit does not anticipate or render obvious claims 1 and 8 of the
           23    ’647 Patent for at least the following reasons:
           24                •   First, Pandit is not prior art. Based on a declaration submitted in reexamination, the
           25                    Patent Office found that the inventors and conceived and reduced to practice the
           26                    claimed invention before Pandit’s priority date. See Exs. 4; 5, at 3-6. The ITC also
           27                    found that the inventors and conceived and reduced to practice the claimed invention
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            1                    before Pandit’s priority date. See Mowry Original Decl., Ex. 15, at 179; see also Ex. 9
            2                    (claim chart submitted in the ’710 Investigation showing conceptions and reduction to
            3                    practice).
            4                •   Pandit does not disclose “detecting structures” within the meaning of the ’647 Patent
            5                    claims because Pandit requires that a user manually locate and mark, or “accent,” any
            6                    text for which the user wishes to perform an operation. This contrasts with the ’647
            7                    Patent’s use of an analyzer server that automatically finds structures within
            8                    unstructured data.
            9                •   Pandit also does not disclose “detecting structures” within the meaning of the ’647
           10                    Patent claims because the apparatus disclosed in Pandit operates on only a single piece
           11                    of text manually identified by a user at any given time. In other words, Pandit does
           12                    not detect more than one structure in data.
           13                •   Pandit does not disclose “a user interface enabling the selection of a detected
           14                    structure” because Pandit requires that a user manually select text before Pandit
           15                    attempts to recognize that text as performing to a particular class. This reverses the
           16                    steps disclosed in the ’647 patent in a material, and critical, way.
           17                    4.      Nokia
           18          27.       Nokia’s European Patent Publication No. 0 458 563 A2 (“Nokia”) does not anticipate
           19    or render obvious claims 1 and 8 of the ’647 Patent. Nokia discloses a “telephone apparatus” capable
           20    of receiving text messages and isolating potential phone numbers that can be transferred to the
           21    phone’s register for dialing. Nokia does not anticipate or render obvious claims 1 and 8 of the ’647
           22    Patent for at least the following reasons:
           23                •   Nokia detects only one type of “structure”, as that term is taught by the ’647 Patent – a
           24                    phone number. By contrast, the ’647 Patent requires that multiple different types of
           25                    structures must be detected.
           26                •   Nokia does not disclose “linking actions to detected structures” as claimed in the ’647
           27                    Patent. Instead, Nokia teaches that when a user accepts a phone number displayed in a
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            1    prior art references similar to Sidekick by including in the body of the patent a discussion of the
            2    limited functionality of these systems. ’647 Patent at 1:52-65. Indeed, the patentees gave the specific
            3    example of systems only able to detect telephone numbers, and only able to allow dialing of those
            4    numbers, as prior art systems over which they were inventing. ’647 Patent at 1:52-65. The patent
            5    was therefore granted over background art that was functionally identical to Sidekick.6
            6                    4.     “a user interface enabling the selection of a detected structure and a
                                        linked action; and;”
            7
                       139.      The Sidekick Dialer does not disclose a “user interface enabling the selection of a
            8
                 detected structure and a linked action.”
            9
                       140.      The “selection of a detected structure,” as written in the claim limitation, necessarily
           10
                 requires that a particular detected structure can be chosen from a set of detected structures. Sidekick,
           11
                 however, highlights only one structure at a time. Cohen Decl., ¶ 131. Should the user then hit an
           12
                 arrow key on his or her keyboard, Sidekick will detect the next structure, to the extent one exists in
           13
                 the document. Cohen Decl., ¶ 131. At no point does Sidekick allow a user to select from a multitude
           14
                 of detected structures. This can be seen from the screenshot that Dr. Cohen relies upon in paragraph
           15
                 131 of his declaration, wherein only one phone number has been identified by Sidekick and
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                 highlighted for the user, with no indication that Sidetrack has recognized, or will recognize, a second
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                 phone number appearing further down on the screen (beneath the name “John Smith”):
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                      Notably, claims 1 and 8, among others, were recently reaffirmed in reexamination as well.
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           28    REPLY EXPERT DECLARATION OF DR .TODD C.
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           10
                                                               Sidekick Screenshot
           11

           12         141.      Thus, at any given time, the Sidekick system detects and selects only one telephone

           13    number, and chooses to present that number to the user. Sidekick Handbook, at 30 (“If you have

           14    more than one number on the screen that looks like a phone number, the first one will be chosen.”).

           15    This, again, is contrary to the teachings of the ’647 Patent, in which multiple structures are detected,

           16    after which a user can choose any one on which to perform an operation via the user interface. ’647

           17    Patent at 3:5-14 (“In a display-type environment, application program interface 230 retrieves the

           18    locations in document 210 of the presentation regions for the detected structures from application

           19    167. Application program interface 230 then transmits this location information to user interface

           20    240, which highlights the detected structures, although other presentation mechanisms can be used.

           21    User interface 240 enables selection of an identified structure by making the presentation regions

           22    mouse-sensitive, i.e. aware when a mouse event such as mouse-down operation is performed while

           23    the cursor is over the region.”).

           24         142.      Similarly, Sidekick does not perform the claim limitation of a “user interface enabling

           25    the selection of . . . a linked action.” As with the selection of a detected structure, the selection of an

           26    action requires that there be a set of multiple actions from which to select. When the Sidekick Dialer

           27    recognizes a telephone number, however, only a single operation – using the computer’s modem to

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            1    ’636 Patent, 3:23-27 (emphasis added).
            2         210.       Pandit also consistently states that the system attempts to recognize “the accented

            3    text,” not structures within the accented text. ‘636 patent, 2:8 (emphasis added); see also ’636 patent,

            4    2:33-35 (“The pull-down menus provided by the invention identify the operations and/or programs

            5    which relate to the class of text accented, highlighted, or otherwise indicated.”); 3:23-27 (“in the

            6    event the accented text is not recognized, i.e., the text is not of the specific type or class recognizable

            7    by any of the libraries provided . . .); cl. 1 (“recognizing the selected text as belonging to a

            8    predetermined class . . .”); Figs. 1a-f.

            9         211.       Pandit therefore teaches a computer-based method that requires, as input, text that has

           10    been manually selected by a user. ’636 Patent, claim 1 (“A computer-implemented method for

           11    processing selected text . . .”) (emphasis added). This is precisely the type of background art that the

           12    ’647 Patent teaches over. ’647 Patent, 1:19-22 (“visually searching data files or documents to find

           13    these structures is laborious and cognitively disruptive, especially if the document is lengthy and hard

           14    to follow.”).

           15         212.       By contrast, “detecting” as taught by the ’647 Patent involves an analyzer server that

           16    automatically locates structures within a body of text. See, e.g., ’647 Patent, 3:61-64 (“Analyzer

           17    server 220 comprises one or more pattern analysis units, such as a parser and grammars or a fast

           18    string search function and dictionaries, which uses patterns to parse document 210 for recognizable

           19    structures.”) Because Pandit does not disclose automatically finding structures within data, the patent

           20    does not disclose “detecting structures”.

           21         213.       Additionally, Pandit does not disclose “detecting structures [i.e., more than one

           22    structure] in the data.” The plain and ordinary meaning of “structures” in claim 1 requires the

           23    analyzer server to be capable of detecting more than one structure in the data. As mentioned in the

           24    previous paragraph, Pandit only discloses manually selecting text, wherein the entirety of what is

           25    manually selected is either that either recognized or not. ’636 Patent, claim 1 (“A computer-

           26    implemented method for processing a selected text, comprising the steps of: (a) recognizing the select

           27    text . . .”). Pandit therefore does not detect more than one structure in data as required by claim 1.

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            1         214.      Pandit also does not disclose “an analyzer server for . . . for linking actions to the
            2    detected structures” for at least the reason that structures are not “detected” in text as described in the
            3    preceding paragraphs of this section.
            4                   4.      “a user interface enabling the selection of a detected structure and a
                                        linked action;”
            5
                      215.      Pandit does not disclose a user interface enabling the selection of a detected structure
            6
                 and a linked action.
            7
                      216.      First, Pandit does not disclose this element of claim 1 for at least the reason that it
            8
                 does not detect structures, as explained above.
            9
                      217.      Pandit also does not disclose “user interface” program routines “enabling the selection
           10
                 of a detected structure.” The plain and ordinary meaning of “a user interface enabling the selection
           11
                 of a detected structure” requires the user interface to enable selection of a structure, by the user, after
           12
                 the structure has already been detected. Pandit, by contrast, reverses these steps. For example, Dr.
           13
                 Cohen cites to one portion of Pandit that discusses the invention “recogniz[ing]” text that the user has
           14
                 previously “accented”, or selected. Cohen Decl., ¶ 217 (quoting ’636 Patent 2:3-23). Dr. Cohen thus
           15
                 argues that the above element of claim 1 is satisfied when (1) the user first selects undetected text
           16
                 and, (2) after such selection, structures are detected in that text. This argument makes no sense in
           17
                 view of the plain language of claim 1, which, as explained, requires that the user be able to pick or
           18
                 choose a detected structure after the system identifies such structures for the user. Pandit, therefore,
           19
                 does not disclose picking or choosing a detected structure but rather accenting (i.e., manually
           20
                 selecting) undetected text.
           21
                                5.      “an action processor for performing the selected action linked to the
           22                           selected structure; and”
           23         218.      Pandit does not disclose “action processor” program routines for “performing the
           24    selected action linked to the selected structure” because, as explained above, it does not disclose
           25    selecting a detected structure.
           26                   6.      “a processing unit coupled to the input device, the output device, and the
                                        memory for controlling the execution of the program routines.”
           27

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